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                         IN THE UNITED STATES DISTRJCT COURT

                                      DISTRICT OF UTAH


UNITED STATES OF AMERICA,                          Case No. 2:20-cr-00301-DBB

                       Plaintiff,                  SUPERSEDING INDICTMENT

        vs.                                       Counts 1-2: 18 U.S.C. § 1343 (Wire Fraud)

MATTHEW AMBROSE BAKER,                            Count 3: 18 U.S.C. § 401 (Contempt)

                       Defendant.                 Count 4: 18 U.S.C. § 922(g)(l) (Felon in
                                                  Possession of Ammunition)


                                                  Judge David B. Barlow



        The Grand Jury Charges:

                                          Background

       At all times relevant to this Superseding Indictment:

        1.      Defendant MATTHEW AMBROSE BAKER ("BAKER") was a resident of Utah

County, Utah.

       2.       Cap Fund 783, LLC ("Cap Fund") was a Utah limited liability company.

       3.       Old Republic National Title Insurance Company ("Old Republic") is a title

insurance and real estate escrow agent licensed and doing business in the State of Utah.
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        4.      In 2019, defendant BAKER owed S.B. $350,000 for a loan S.B. previously gave to

defendant BAKER. Beginning in and around 2019, S.B. loaned defendant BAKER an additional

$95,000 to assist defendant BAKER with his efforts to purchase or prevent the loss of certain real

estate investments.

        5.     In 2019 and continuing through 2021, defendant BAKER began assigning or

transferring his ownership and interests in certain business entities and real property to others, and

creating business entities for the purpose of transferring or holding assets, to include real property.

                                             Counts 1-2
                                          18 u.s.c. § 1343
                                           (Wire Fraud)

        6.     All the allegations set forth in this Superseding Indictment are incorporated herein

by reference and realleged as though fully set forth herein.

                               The Scheme and Artifice to Defraud

       7.      Beginning in and around 2019, and continuing to and including September 2020,

within the District of Utah and elsewhere,

                                MATTHEW AMBROSE BAKER,

defendant herein, devised and intended to devise a scheme to defraud and to obtain money and

property by means of materially false and fraudulent pretenses, representations and promises, and

omissions of material facts.

       8.      In executing and attempting to execute the scheme and artifice to defraud, and in

furtherance thereof, defendant BAKER knowingly transmitted and caused to be transmitted, wire

communications in interstate commerce in violation of 18 U.S.C. § 1343 (Wire Fraud).



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                     Manner and Means of the Scheme and Artifice to Defraud

        9.         In execution and in furtherance of the .scheme and artifice to defraud, defendant

BAKER, employed the following manner and means:

        10.        In and around September 2019, in an effort to hide assets, defendant BAKER

created business entities purportedly controlled or managed by S.B., which defendant BAKER

used to conduct business involving real property. S.B. allowed defendant BAKER to do this

because defendant BAKER promised this would allow S.B. to recover money defendant BAKER

owed to S.B.

        11.        On August 30, 2019, defendant BAKER executed a Real Estate Purcnase Contract

("REPC") listing Cap Fund as the buyer of real property for approximately $373,000 located in

Utah County, State of Utah and described as "approximately 7.2 acres contained within Ashton

Springs Phase 2" (the "Property").

        12.    On or about September 5, 2019, defendant BAKER filed a Certificate of

Organization for Cap Fund with the State of Utah Department of Commerce Division of

Corporations, in which S.B. was listed as the sole member or manager of Cap Fund.

        13.    On or about June 26, 2020, Cap Fund, through defendant BAKER, assigned its

interest under the REPC to another buyer willing to pay $373,000.00 for the Property and to pay

Cap Fund $767,000.00 as an assignment fee.

       14.     Old Republic was the title company and escrow agent for the real estate transaction

of the Property.

       15.     On or about July 1, 2020, defendant BAKER requested that Old Republic wire the

assignment fee to defendant BAKER's personal bank account that was not associated with Cap


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Fund.

         16.      On or about July 1, 2020, defendant BAKER falsely represented to Old Republic

that S.B. had assigned Cap Fund's rights to the Property to defendant BAKER personally, in an

effort to get Old Republic to disburse the assignment fee to defendant BAKER.

         17.     After Old Republic refused to release the profits from the sale of the Property to

defendant BAKER (because he was not the owner or manager of Cap Fund), defendant BAKER

changed the manager and member of Cap Fund out of S.B. 's name and into defendant BAKER's

name without S.B. 's permission or knowledge, in an effort to get Old Republic to disburse the

assignment fee to defendant BAKER.

         18.     On or about the dates enumerated in each count below, in the District of Utah, and

elsewhere,

                                 MATTHEW AMBROSE BAKER,

defendant herein, having devised and intended to devise a scheme and artifice to defraud and to

obtain money and property by means of materially false and fraudulent pretenses, representations,

and promises, and omissions of material facts, for the purpose of executing said scheme and artifice

to defraud, did use or cause to be used interstate wire communications facilities, as represented

below, each such use of wire communication being a separate count of this Superseding

Indictment:


 COUNT             DATE                         WIRE COMMUNICATIONS
                (on or about)
     1         07/01/2020       Telephone call between defendant BAKER and Old Republic
                                employee L.W., in which defendant BAKER falsely represented
                                that S.B. had assigned Cap Fund's rights to the Property to
                                defendant Balcer, and which call was routed across state lines.



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  COUNT            DATE                          WIRE COMMUNICATIONS
                (on or about)
     2         07/02/2020       Online remote login to the State of Utah Department of
                                Commerce Division of Corporations changing the manager and
                                member of Cap Fund from S.B. to defendant BAKER.

All in violation of 18 U.S.C. § 1343.

                                             Count3
                                        18 u.s.c. § 401(3)
                                           (Contempt)

         19.    All the allegations set forth in this Superseding Indictment are incorporated herein

by reference and realleged as though fully set forth herein.

         20.    On September 9, 2020, defendant BAKER was federally charged and subsequently

placed on pretrial release. On September 23, 2020, the Honorable Magistrate Judge Cecilia M.

Romero issued an Order Setting Conditions of Release in case number 2:20-cr-00301 (the "Court

Order"). One of the specific conditions in the Court Order prohibited defendant BAKER from

creating any new business entities or transferring substantial assets of $1500, unless approved by

the United States Probation and Pretrial Services Office.

         21.    Beginning on or about August 2021 and continuing through February 2022, in the

District of Utah and elsewhere,

                                  MATTHEW AMBROSE BAKER

defendant herein, did willfully and knowingly disobey and resist one or more lawful orders, decrees,

and commands of the Honorable Cecilia J. Romero ofthe United States District Court for the District

of Utah of which he had actual knowledge, namely, the September 23, 2020 Order Setting

Conditions of Release, in case number 2:20-cr-301-DBB.




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         22.    Specifically, defendant BAKER directly and indirectly, individually and with others,

violated the Court Order by transferring assets in excess of $1500 without the prior approval of the

United States Probation and Pretrial Services Office, including but not limited to each instance

below:

        DATE
                                   ASSET                              DESCRIPTION
     (on or about)
                         Real property located in         Transfer by defendant BAKER from a
      08/12/2021         Provo, Utah, which was           trust to a company owned by his wife.
                         subsequently sold for            The property was then sold.
          I
                         approximately $330,000
                                                          Wire transfer of funds by defendant
      12/13/2021                  $200,000                BAKER, on behalf of Foxtrot United
                                                          LLC, to G.H.
                                                          Check from defendant BAKER to SS
      01/06/2022                   $3,000                 Marine
                                                          Check from defendant BAKER to Tango
      01/12/2022                  $10,000                 305
                                                          Check from defendant BAKER to
      01/12/2022                   $2,000                 BuildTec
                                                          Wire transfer from defendant BAKER to
      02/03/2022                  $600,000                his wife

All in violation of the Court Order, and Title 18, United States Code, Section 401(3).

                                            Count4
                                      18 U.S.C. § 922(g)(l)
                              (Felon in Possession of Ammunition)

         23.    All the allegations set forth in this Indictment are incorporated herein by reference

and realleged as though fully set forth herein.

         24.   On or about March 30, 2022, in the District of Utah and elsewhere,

                                MATTHEW AMBROSE BAKER,

defendant herein, knowing he had previously been convicted of a crime punishable by

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imprisonment for a term exceeding one year, knowingly possessed ammunition, to wit -- 37

rounds of9mm ammunition and 40 rounds of .38 special ammunition, and the ammunition was

in and affecting interstate commerce, all in violation of 18 U.S.C. § 922(g)(l).

                      NOTICE OF INTENT TO SEEK FORFEITURE

       Pursuant to 18 U.S.C. § 924(d)(l) and 28 U.S.C. § 2461(c), upon conviction for any

offense violating 18 U.S.C. § 922, the defendant shall forfeit to the United States of America any

ammunition involved in or used in the commission of the offense, including but not limited to:

       •   37 rounds ofUltramax 9mm ammunition; and
       •   40 rounds of Federal .38 special ammunition.



                                                     A TRUE BILL:



                                                     FOREPL?l OF          GRAND JURY

TRINA A. HIGGINS
United States Attorney




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